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Questions. & Answers

What did the NRA announce?

 

This is a transformational moment for the NRA. We announced

a new strategic plan called Project Freedom.

The NRA’s new strategic plan involves pursuing reincorporating
the Association from the State of New York to the State of
Texas — home to more than 400,000 NRA members and site of

the 2021 NRA Annual Meeting being held in Houston.

The NRA’s restructuring plan also aims to help the NRA
streamline costs and expenses, proceed with pending litigation in
a coordinated and structured manner, and realize many financial

and strategic advantages.

We believe the restructuring plan positions our organization for
the future — and ensures our continued success as the nation’s

leading advocate for constitutional freedom.

Is the NRA going
“bankrupt?”

No. In fact, this move comes at a time when the NRA is in its

strongest financial condition in years.

To facilitate its reorganization, the NRA and one of its
subsidiaries filed voluntary chapter 11 petitions in the United
States Bankruptcy Court for the Northern District of Texas,

Dallas Division. The NRA is not insolvent.

We expect no impacts to NRA programming.

Nothing is more important to the NRA than protecting the

Second Amendment rights of our law-abiding members. We will

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be as effective as ever in advocating for your rights, promoting
firearms education and training, and engaging in public

endeavors.

What happens to my NRA
membership?

Nothing. Your membership remains intact.

NRA supporters will continue to enjoy all their full member
benefits — from new members to Life Members to Benefactor
Members. We will continue to publish and deliver your
magazines. We will continue to train Americans and teach them

firearms safety. We will continue to teach hunter safety.

But most importantly, we will continue to fight for your freedom
as we have for all these years. In fact, we are expanding our

national platform.

Can people still join the NRA
— and why should they?

Absolutely! There could not be a more exciting time to join the
NRA. We are expanding our national platform, and our future is
bright and secure. We invite all law-abiding gun owners and all

Americans to be part of it.

By filing for chapter 11, is the
NRA admitting it
mismanaged donor funds?

Not at all. We have utilized all donor contributions in
furtherance of the NRA’s mission. This action is necessitated
primarily by one thing: the unhinged and political attack against
the NRA by the New York Attorney General.

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A restructuring plan is a proven mechanism for streamlining
legal and business affairs. All membership fees and donations
will continue to be used in furtherance of our Second

Amendment advocacy.

Can you guarantee member
donations will be used to
protect our Second
Amendment rights?

All donations are used for the purpose of advancing the NRA’s

mission, period.

Should I donate to the NRA
during the chapter 11 process,
or should I[ wait until the
Association emerges from the
restructuring process?

We need your support now — as we confront a Biden
Administration that has vowed to attack your Second
Amendment freedoms. All donations are used in furtherance of

our mission.

Will there be impacts to
endowed funds?

No. Endowed funds will still be used to support the NRA’s core

mission: protecting the Second Amendment.

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When will the restructuring
process be completed?

This process begins immediately. The NRA is expected to

emerge from these proceedings within the next six months.

What can I do to support the
NRA?

Promote our cause. Get fully engaged. We must

continue to win the fight for constitutional freedom.

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